                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 13-CR-3054-LRR
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 ARLO HOEFT,                                      RECOMMENDATION
                                              CONCERNING DEFENDANT’S
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On December 18, 2013, a two-count Indictment was filed against the defendant Arlo
Hoeft. On April 3, 2014, the defendant appeared before United States Magistrate Judge
Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment. On April 3, 2014,
Judge Scoles filed a Report and Recommendation in which he recommended that the
defendant’s guilty plea be accepted.      No objections to Judge Scoles’s Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Scoles’s recommendation to accept the defendant’s plea in this case.
                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:



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              The district judge must determine de novo any part of the
              magistrate judge’s disposition that has been properly objected
              to. The district judge may accept, reject, or modify the
              recommended disposition; receive further evidence; or return
              the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
April 3, 2014, and ACCEPTS the defendant’s plea of guilty in this case to Count 1 of the
Indictment.
      IT IS SO ORDERED.
      DATED this 21st day of April, 2014.




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